                        UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA


 Food Lion, LLC, and Maryland and Virginia
 Milk Producers Cooperative Association,
 Inc.,

                        Plaintiffs,                   Case No. 1:20-cv-00442

v.

Dairy Farmers of America, Inc.,

                        Defendant.




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 22, 2020, I electronically filed ECF No. 14 the Declaration
of Mike John, ECF No. 15 the Declaration of Professor Mikhael Shor and ECF No. 16 the
Declaration of Mark Latva with the Clerk of Court using the CM/ECF system, and that said
document was served on the defendant with via UPS Overnight Mail, addressed as follows:

DAIRY FARMERS OF AMERICA, INC.
c/o Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

       This the 26th day of May, 2020.

                                            HUNTON ANDREWS KURTH LLP

                                            s/ Ryan G. Rich
                                            Ryan G. Rich, N.C. State Bar No. 37105
                                            101 South Tryon Street, Suite 3500
                                            Charlotte, North Carolina 28280
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      Case 1:20-cv-00442-CCE-JLW Document 18 Filed 05/26/20 Page 1 of 1
